






Opinion issued February 20, 2003









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00678-CV

____________


HUTCHISON-HAYES SEPARATORS, INC., Appellant


V.


HARRY NOEL FINDLEY, Appellee






On Appeal from the 127th District Court

Harris County, Texas

Trial Court Cause No. 00-5409






MEMORANDUM OPINION

	The parties have filed a joint motion to dismiss this appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Alcala.




